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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
        Plaintiff,                           )
                                             )
 v.                                          )       CAUSE NO. 1:19-cr-0229-RLY-DML
                                             )
 MAHDE DANNON, and                           )       -01
 MOYAD DANNON,                               )       -02
                                             )
        Defendant.                           )

                        UNOPPOSED MOTION TO DESIGNATE A
                     CLASSIFIED INFORMATION SECURITY OFFICER

        The United States of America, by and through the undersigned counsel, respectfully

 requests that the Court designate a Classified Information Security Officer ("CISO"), pursuant

 to the Classified Information Procedures Act ("CIPA"), 18 U.S.C. App. 3, and Section 2 of the

 Security Procedures established under Pub. L. 96- 456, 94 Stat. 2025 by the Chief Justice of

 the United States and promulgated pursuant to Section 9 of CIPA. In support of this motion

 the government states the following:

                                    CASE BACKGROUND

        On July 2, 2019, a grand jury sitting in the Southern District of Indiana returned an

 eight-count indictment charging defendants Mahde Dannon and Moyad Dannon with various

 firearms offenses and attempting to provide material support and resources to a the Isla mic

 State of Iraq and al-Sham (“ISIS”), a designated Foreign Terrorist Organization, in violation

 of 18 U.S.C. § 2339B. On July 26, 2019, the government filed a Motion to designate this a

 complex case, in part due to the currently classified nature of certain evidence.


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                                  CIPA SECURITY PROCEDURES

            Due to the nature of the charges and the expected evidence in this case, the United States

 anticipates that issues relating to classified information will arise. To that end, this case will

 implicate CIPA. Pursuant to CIPA, 18 U.S.C. App. 3, and Section 2 of the Security Procedures

 established under Pub. L. 96-4 56, 94 Stat. 2025 by the Chief Justice of the United States and

 promulgated pursuant to Section 9 of CIPA, the Court shall designate a CISO in any proceeding

 in a criminal case in which classified information is reasonably expected to be referenced or filed

 with the Court.

            To assist the Court and court personnel in handling any motions, pleadings and

 implementing any orders relating to the CIPA proceedings, the government requests that the

 Court designate Matthew W. Mullery III as the CISO for this case, to perform the duties and

 responsibilities prescribed for CISOs in the Security Procedures promulgated by the Chief

 Justice.

            The government further requests that the Court designate the following persons as

 Alternate CISOs, to serve in the event Mr. Mullery is unavailable: Debra M. Guerrero-Randall,

 Daniel O. Hartenstine, Joan B. Kennedy, Maura L. Peterson, Carli V. Rodriguez-Feo, Harry J.

 Rucker, and W. Scooter Slade. The government has discussed this motion with William Dazey

 and Mario Garcia, counsel for the defendants, Mahde and Moyad Dannon, respectively, who

 advised that they have no objection to designation of a CISO in this matter.




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        WHEREFORE, the United States prays that the Court grant this motion and order the

 designation of a CISO as outlined above.

                                            Respectfully submitted,

                                            JOSH J. MINKLER
                                            United States Attorney


                                     By:    S:/ Matthew J. Rinka
                                            Matthew J. Rinka
                                            Assistant United States Attorney
                                            Deputy Criminal Chief, National Security Unit




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2019, a copy of the foregoing Unopposed Motion for

 Designation of a Classified Information Security Officer was filed electronically.   Notice of this

 filing will be sent to the following parties by operation of the Court's electronic filing system.

 Parties may access this filing through the Court's system.



                                                      S:/Matthew J. Rinka
                                                      Matthew J. Rinka
                                                      Assistant United States Attorney




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